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                                                    THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    GERALD WILLIAMS,                                  CASE NO. C19-0444-JCC
10                          Plaintiff,                  MINUTE ORDER
11           v.

12    THOMAS VILSACK,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          Plaintiff’s motion to record Plaintiff’s closing argument (Dkt. NO. 66) is DENIED. See
18   W.D. Wash. Local Civ. R. 78(b).
19          DATED this 14th day of October 2021.
                                                          Ravi Subramanian
20
                                                          Clerk of Court
21
                                                          s/Sandra Rawski
22                                                        Deputy Clerk

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     MINUTE ORDER
     C19-0444-JCC
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